Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 1 of 29




              EXHIBIT A
                 Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 2 of 29



 1   LYNCH CARPENTER, LLP
     Todd D. Carpenter (SBN 234464)                                      3/17/2022
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 5   Attorneys for Plaintiff

 6   [Additional counsel listed on signature page.]

 7

 8                                 SUPERIOR COURT OF CALIFORNIA

 9                                     COUNTY OF SAN MATEO
                                                                     22-CIV-01176
10   JUSTIN WALKER, on behalf of himself              ) Case Number:
     and all others similarly situated,               )
11                                                    )
                      Plaintiff,                      ) CLASS ACTION COMPLAINT
12                                                    )
            vs.                                       ) JURY TRIAL DEMANDED
13                                                    )
     META PLATFORMS, INC.,                            )
14                                                    )
                      Defendant.                      )
15                                                    )

16          Plaintiff Justin Walker, on behalf of himself and all others similarly situated, files this
17   Complaint against Defendant Meta Platforms, Inc. (“Meta” or “Defendant”) for violation of the
18   federal Video Privacy Protection Act, 18 U.S.C. § 2710 (“VPPA”). Plaintiff’s allegations are
19   based upon personal knowledge with respect to himself and on information and belief derived
20   from, among other things, investigation of counsel and review of public documents as to all
21   other matters:
22   I.     NATURE OF THE ACTION
23          1.        This is a consumer digital privacy class action complaint against Meta, as the
24   owner and operator of the website Facebook.com and related online application (“Facebook”),
25   for violating the VPPA by disclosing its digital subscribers’ personally identifiable information
26   or (as defined under the VPPA) without the proper consent.
27          2.        The VPPA prohibits “video tape service providers,” such as Meta, from
28   knowingly disclosing consumers’ personally identifiable information, including “information


                                         CLASS ACTION COMPLAINT
                                               Page 1 of 14
                   Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 3 of 29



 1   which identifies a persona as having requested or obtained specific video materials or services

 2   from a video tape provider,” without express consent in a stand-alone consent form.

 3            3.       On Facebook, Defendant offers the Facebook Live tool whereby it broadcasts

 4   consumers’ personally identifiable viewing information, including their full names and the

 5   specific video materials or services they viewed on the Facebook Live tool such as movies,

 6   performances and other virtual events (the “PII”). Through the Facebook Live Tool, Facebook

 7   knowingly discloses to other third parties—specifically, other viewers of the Facebook Live

 8   Event—its consumers’ PII without their consent in violation of the VPPA.

 9            4.       Accordingly, Plaintiff brings this class action for legal and equitable remedies to
10   redress and put a stop to Defendant’s practices of intentionally disclosing its digital
11   subscribers’ Personal Viewing Information to third parties in knowing violation of the VPPA.
12   II.      JURISDICTION AND VENUE
13            5.       This Court has jurisdiction over this class action pursuant to Cal. Civ. Proc.
14   Code § 410.10 and Article VI, § 10 of the California Constitution.
15            6.       The Court has personal jurisdiction over Defendant because it has affirmatively
16   established and maintained sufficient contacts with California in that Defendant is registered to
17   do business in this State, is headquartered in this State, and conducts significant business in this
18   State.
19            7.       Venue is proper in this County pursuant to California Civ. Proc. Code § 395.5,

20   as Defendant’s principal place of business is in this County, and pursuant to Cal Civ. Code

21   § 1780(d), as Defendant’s principal place of business is in this County and a substantial portion

22   of the transactions and allegations complained of herein occurred here.

23   III.     THE PARTIES

24            8.       Plaintiff Justin Walker is an adult domiciled in California. Plaintiff is a

25   Facebook digital subscriber and has been for approximately fifteen (15) years. During the

26   relevant time period he has used the Facebook digital subscription to view video materials

27   through the Facebook Live Tool while logged into his Facebook account. By doing so,

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                                           CLASS ACTION COMPLAINT
                                                 Page 2 of 14
                 Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 4 of 29



 1   Plaintiff’s PII was disclosed to unauthorized persons pursuant to the systematic process

 2   described herein. Plaintiff never gave Defendant express written consent to disclose his PII.

 3          9.       Defendant Meta is a Delaware corporation with its headquarters and principal

 4   executive offices in this district at 1601 Willow Road, Menlo Park, California 94025. It is a

 5   citizen of Delaware and California. Prior to December 1, 2021, Meta was known as

 6   Facebook Inc. It is the owner and operator of, among other things, two large social media

 7   platforms, Facebook and Instagram. As detailed below, through the Facebook, Defendant

 8   delivers and, indeed, is in the business of delivering, countless hours of video materials and/or

 9   services to its digital subscribers such that it is a “Video Tape Service Provider” within the
10   meaning of the VPPA.
11   IV.    FACTUAL ALLEGATIONS
12          A.       Background of the Video Privacy Protection Act
13          10.      The VPPA generally prohibits the knowing disclosure of a customer’s video
14   rental or sale records without the informed, written consent of the customer in a form “distinct
15   and separate from any form setting forth other legal or financial obligations.” Under the statute,
16   the Court may award actual damages (but not less than liquidated damages of $2,500.00 per
17   person), punitive damages, equitable relief and attorney’s fees.
18          11.      The VPPA was initially passed in 1988 for the explicit purpose of protecting the
19   privacy of individuals’ and their families’ video rental, purchase and viewing data. Leading up

20   to its enactment, members of the United States Senate warned that “[e]very day Americans are

21   forced to provide to businesses and others personal information without having any control

22   over where that information goes.” S. Rep. No. 100-599 at 7-8 (1988).

23          12.      Senators at the time were particularly troubled by disclosures of records that

24   reveal consumers’ purchases and rentals of videos and other audiovisual materials. As Senator

25   Patrick Leahy and the late Senator Paul Simon recognized, records of this nature offer “a

26   window into our loves, likes, and dislikes,” such that “the trail of information generated by

27   every transaction that is now recorded and stored in sophisticated record-keeping systems is a

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                                        CLASS ACTION COMPLAINT
                                              Page 3 of 14
              Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 5 of 29



 1   new, more subtle and pervasive form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988)

 2   (statements of Sens. Simon and Leahy, respectively).

 3          13.     In proposing the Video and Library Privacy Protection Act (later codified as the

 4   VPPA), Senator Leahy stated that “[i]n practical terms our right to privacy protects the choice

 5   of movies that we watch with our family in our own homes. And it protects the selection of

 6   books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988). Thus, the personal

 7   nature of such information, and the need to protect it from disclosure, is the inspiration of the

 8   statute: “These activities are at the core of any definition of personhood. They reveal our likes

 9   and dislikes, our interests and our whims. They say a great deal about our dreams and
10   ambitions, our fears and our hopes. They reflect our individuality, and they describe us as
11   people.” Id.
12          14.     While these statements rang true in 1988 when the VPPA was passed, the
13   importance of legislation like the VPPA in the modern era of data mining is more pronounced
14   than ever before. During a recent Senate Judiciary Committee meeting, “The Video Privacy
15   Protection Act: Protecting Viewer Privacy in the 21st Century,” Senator Leahy emphasized the
16   point by stating: “While it is true that technology has changed over the years, we must stay
17   faithful to our fundamental right to privacy and freedom. Today, social networking, video
18   streaming, the ‘cloud,’ mobile apps and other new technologies have revolutionized the
19   availability of Americans’ information.” 1

20          15.     In this case, Defendant chose to deprive Plaintiff and the Class members of that

21   right by systematically disclosing their PII to third-parties, without providing notice to (let

22   alone obtaining consent from) anyone, as explained herein.

23          B.      The Facebook Platform

24          16.     Defendant’s website and application Facebook was launched in 2004 as an

25   online social media and social networking service.

26

27   1
       The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
28   Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
     senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the21stcentury.

                                        CLASS ACTION COMPLAINT
                                              Page 4 of 14
              Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 6 of 29



 1          17.     Facebook can be accessed from devices with Internet connectivity, such as

 2   personal computers, tablets, and smartphones.

 3          18.     As a requirement to use and access Facebook, users are required to, and do,

 4   register and subscribe to Facebook. As part of this registration process, subscribers are required

 5   to provide Facebook with their personal information such as their full name, phone number,

 6   email address, date of birth, and gender:

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22          19.     On information and belief, all digital subscribers also provide Defendant with
23   their IP address, which is a unique number assigned to all information technology connected
24   devices, that informs Defendant as to subscribers’ city, zip code and physical location.
25          20.     Finally, digital subscribers may provide to Defendant the identifier on their
26   mobile devices and/or cookies stored on their devices.
27          21.     After the registration process is complete, Facebook subscribers are then
28   assigned a unique Facebook ID (“FID”). An FID is a unique and persistent identifier that


                                        CLASS ACTION COMPLAINT
                                              Page 5 of 14
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 7 of 29



 1   Facebook assigns to each user. With it, any ordinary person can look up the user’s Facebook

 2   profile and name.

 3            22.     When opening an account, Defendant does not disclose to its digital subscribers

 4   that it will share their PII with third parties through its use of the Facebook Live Tool. Digital

 5   subscribers are also not asked to consent to such information sharing upon opening an account.

 6            23.     After becoming a digital subscriber, viewers have access to a variety of

 7   information and tools on the Facebook platform.

 8            24.     After registering, users can create a profile revealing information about

 9   themselves. They can post text, photos and multimedia which are shared with any other users
10   who have agreed to be their "friend" or publicly. Users can also communicate directly with
11   each other with Facebook Messenger, join common-interest groups, and receive notifications
12   on the activities of their Facebook friends and the pages they follow.
13            25.     In addition, users can utilize the Facebook Live tool whereby Defendant will
14   broadcast countless hours of video materials or services to its digital subscribers.
15            26.     As Defendant acknowledges, through the Facebook Live tool Defendant will
16   broadcast users’ “conversation[s], performance[s]…or virtual event[s].”
17            27.     Live Events are held for various purposes and cover an endless number of
18   topics, from politics, makeup, and pop-culture to more serious and private issues, such as
19   fertility preservation and HIV. Not only do many of these videos contain sensitive and

20   intimate content, but they are also often recorded in individuals’ private homes.

21            28.     Facebook Live is also used to live broadcast movies and sports events “with

22   thousands of users watching and interacting with other viewers at the same time.” 2

23            29.     When a Facebook subscriber watches video materials or services during a Live

24   Event, Facebook identifies the subscriber by name and displays to the subscriber which of his

25   Facebook “friends” (also subscribers) are also watching the Live Event. Facebook

26   simultaneously notifies the subscriber’s “friends” that the subscriber is viewing the Live Event.

27

28   2
         See, e.g., https://techpp.com/2016/11/05/facebook-live-movie-streaming/.

                                         CLASS ACTION COMPLAINT
                                               Page 6 of 14
              Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 8 of 29



 1          30.    As shown in the screenshot below, Facebook displays a list of the subscriber’s

 2   Facebook friends who are watching the same live video, and tags them as “viewers”:

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24          31.    The above screenshot was taken from a Facebook Live Event. Notably,

25   Facebook notified the host (another Facebook subscriber) that three of his “friends” are

26   watching the live video, identifying them by their private names and surnames (their

27   Facebook usernames). These Facebook friends could see each others’ viewing status as well.

28


                                       CLASS ACTION COMPLAINT
                                             Page 7 of 14
                 Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 9 of 29



 1           32.     Importantly, Facebook did not notify any of these subscribers that by joining the

 2   Facebook Live event, the specific video materials or services they requested from Facebook

 3   would be shared with third parties.

 4           33.     Nowhere on Defendant’s Privacy pages, Terms of Service, nor anywhere on its

 5   website or application does Defendant inform its subscribers that it will identify them by name

 6   in conjunction with sharing information about which specific video materials or services they

 7   are viewing with other third parties.

 8           34.     Defendant also fails to obtain subscribers’ consent (written or otherwise) to

 9   share this private viewing information with others.
10           35.     Similarly, Defendant also fails to obtain digital subscribers’ written consent to
11   share the specific video materials or services they are viewing “in a form distinct and separate
12   from any form setting forth other legal or financial obligations of the consumer,” as the VPPA
13   requires.
14           C.      Plaintiff’s Experiences
15           36.     Plaintiff Justin Walker has been a digital subscriber of Facebook for
16   approximately fifteen (15) years. Plaintiff became a digital subscriber of Facebook by
17   providing, among other information, his name, phone number, email address, date of birth,
18   gender, IP address (which informs Defendant as to the city and zip code he resides in as well as
19   his physical location), and any cookies associated with his device. In turn, Defendant gave

20   Plaintiff a unique FID for his Facebook account.

21           37.     Since approximately 2017, Plaintiff has utilized Defendant’s Facebook Live tool

22   to request specific video materials or services from Defendant’s Facebook platform.

23           38.     Plaintiff believes he requests specific video materials or services from

24   Defendant’s Facebook platform utilizing the Facebook Live tool approximately 3-5 times per

25   week.

26           39.     Plaintiff has never consented, agreed, authorized, or otherwise permitted

27   Defendant to disclose specific video materials or services he requests from Defendant through

28   the Facebook Live tool to third-parties. Plaintiff has never been provided any written notice


                                           CLASS ACTION COMPLAINT
                                                 Page 8 of 14
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 10 of 29



 1   that Defendant discloses specific video materials or services requested by its digital subscribers

 2   through the Facebook Live tool to third parties, or any means of opting out of such disclosures.

 3   Defendant nonetheless knowingly disclosed specific video materials or services requested by

 4   Plaintiff to unauthorized third parties.

 5          40.     Because Plaintiff is entitled by law to privacy in his PII, Defendant’s disclosure

 6   of his PII to unauthorized third parties without his informed, written consent that is in a form

 7   distinct and separate from form setting forth other legal or financial obligations, deprived

 8   Plaintiff of his statutory rights under the VPPA.

 9   V.     CLASS ACTION ALLEGATIONS
10          41.     Plaintiff brings this action on behalf of himself and all others similarly situated
11   as a class action pursuant to Cal. Civ. Proc. Code § 382, on behalf of the following class (the
12   “Class”):
13          All persons in the United States with a digital subscription to Facebook that
            utilized the Facebook Live tool and had their PII disclosed to third parties in
14          connection therewith.
15          42.     Excluded from the Class are Defendant, their past or current officers, directors,
16   affiliates, legal representatives, predecessors, successors, assigns and any entity in which any of
17   them have a controlling interest, as well as all judicial officers assigned to this case and their
18   immediate families.
19          43.     Numerosity. Members of the Class are so numerous and geographically

20   dispersed that joinder of all members of the Class is impracticable. Plaintiff believes that there

21   are hundreds of thousands of members of the Class widely dispersed throughout the United

22   States. Class members can be identified from Defendant’s records and non-party Facebook’s

23   records.

24          44.     Typicality. Plaintiff’s claims are typical of the claims of members of the Class.

25   Plaintiff and members of the Class were harmed by the same wrongful conduct by Defendant in

26   that Defendant caused Personal Viewing Information to be disclosed to Facebook without

27   obtaining express written consent. His claims are based on the same legal theories as the claims

28   of other Class members.


                                          CLASS ACTION COMPLAINT
                                                Page 9 of 14
              Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 11 of 29



 1           45.     Adequacy. Plaintiff will fairly and adequately protect and represent the interests

 2   of the members of the Class. Plaintiff’s interests are coincident with, and not antagonistic to,

 3   those of the members of the Class. Plaintiff is represented by counsel with experience in the

 4   prosecution of class action litigation generally and in the emerging field of digital privacy

 5   litigation specifically.

 6           46.     Commonality. Questions of law and fact common to the members of the Class

 7   predominate over questions that may affect only individual members of the Class because

 8   Defendant has acted on grounds generally applicable to the Class. Such generally applicable

 9   conduct is inherent in Defendant’s wrongful conduct. Questions of law and fact common to the
10   Classes include:
11                   (a)        Whether Defendant knowingly disclosed Class members’ PII to third
12           parties through the Facebook Live tool;
13                   (b)        Whether the information disclosed to third parties through the Facebook
14           Live tool concerning Class members’ PII constitutes personally identifiable information
15           under the VPPA;
16                   (c)        Whether Defendant’s disclosure of Class members’ PII to third parties
17           through the Facebook Live tool was knowing under the VPPA;
18                   (d)        Whether Class members consented to Defendant’s disclosure of their PII
19           to third parties through the Facebook Live tool in the manner required by 18 U.S.C.

20           § 2710(b)(2)(B); and

21                   (e)        Whether the Class is entitled to damages as a result of Defendant’s

22           conduct.

23           47.     Superiority. Class action treatment is a superior method for the fair and efficient

24   adjudication of the controversy. Such treatment will permit a large number of similarly situated

25   persons to prosecute their common claims in a single forum simultaneously, efficiently, and

26   without the unnecessary duplication of evidence, effort, or expense that numerous individual

27   actions would engender. The benefits of proceeding through the class mechanism, including

28   providing injured persons or entities a method for obtaining redress on claims that could not


                                            CLASS ACTION COMPLAINT
                                                 Page 10 of 14
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 12 of 29



 1   practicably be pursued individually, substantially outweighs potential difficulties in

 2   management of this class action. Plaintiff knows of no special difficulty to be encountered in

 3   litigating this action that would preclude its maintenance as a class action.

 4   VI.       CLAIM FOR RELIEF

 5                                    FIRST CLAIM FOR RELIEF

 6              (Violation of the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710)

 7             48.   Plaintiff incorporates the preceding paragraphs by reference as if fully set forth

 8   herein.

 9             49.   The VPPA prohibits a “video tape service provider” from knowingly disclosing
10   “personally-identifying information” concerning any consumer to a third-party without the
11   “informed, written consent (including through an electronic means using the Internet) of the
12   consumer.” 18 U.S.C § 2710.
13             50.   As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is “any
14   person, engaged in the business, in or affecting interstate commerce, of rental, sale, or delivery
15   of prerecorded video cassette tapes or similar audiovisual materials.”
16             51.   Defendant is a “video tape service provider” as defined in 18 U.S.C.
17   § 2710(a)(4) because it engaged in the business, in or affecting interstate or foreign commerce,
18   of rental, sale, or delivery of prerecorded video cassette tapes or similar audio-visual materials.
19             52.   As defined in 18 U.S.C. § 2710(a)(3), “personally-identifiable information” is

20   defined to include “information which identifies a person as having requested or obtained

21   specific video materials or services from a video tape service provider.”

22             53.   Defendant knowingly caused PII concerning Plaintiff and Class members to be

23   disclosed to third parties through the Facebook Live tool. This information constitutes

24   personally identifiable information under 18 U.S.C. § 2710(a)(3) because it identified each

25   Plaintiff and Class member to third-party users of the Facebook Live tool by disclosing their

26   full names and the specific video materials or services they requested from the platform.

27             54.   As defined in 18 U.S.C. § 2710(a)(1), a “consumer” means “any renter,

28   purchaser, or subscriber of goods or services from a video tape service provider.” As alleged in


                                         CLASS ACTION COMPLAINT
                                              Page 11 of 14
              Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 13 of 29



 1   the preceding paragraphs, Plaintiff and Class Members subscribed to the Facebook platform.

 2   Plaintiff is thus a “consumer” under this definition.

 3          55.     As set forth in 18 U.S.C. § 27109(b)(2)(B), “informed, written consent” must be

 4   (1) in a form distinct and separate from any form setting forth other legal or financial

 5   obligations of the consumer; and (2) at the election of the consumer, is either given at the time

 6   the disclosure is sought or given in advance for a set period of time not to exceed two years or

 7   until consent is withdrawn by the consumer, whichever is sooner.” Defendant failed to obtain

 8   informed, written consent under this definition.

 9          56.     In addition, the VPPA creates an opt-out right for consumers in 18 U.S.C.
10   § 2710(2)(B)(iii). It requires video tape service providers to also “provide[] an opportunity for
11   the consumer to withdraw on a case-by-case basis or to withdraw from ongoing disclosures, at
12   the consumer’s election.” Defendant failed to provide an opportunity to opt out as required by
13   the VPPA.
14          57.     Defendant knew that these disclosures identified Plaintiff and Class members to
15   third-party users of the Facebook Live tool. Defendant also knew that Plaintiff’s and Class
16   members’ PII was disclosed to third parties because, inter alia, Defendant advertises as much
17   on the Facebook website. See https://www.facebook.com/formedia/tools/facebook-live.
18          58.     By disclosing Plaintiff’s and the Class’s PII, Defendant violated Plaintiff’s and
19   the Class members’ statutorily protected right to privacy in their video-watching habits. See 18

20   U.S.C. § 2710(c).

21          59.     As a result of the above violations, Defendant is liable to the Plaintiff and other

22   Class members for actual damages related to their loss of privacy in an amount to be

23   determined at trial or alternatively for “liquidated damages not less than $2,500 per plaintiff.”

24   Under the statute, Defendant is also liable for reasonable attorney’s fees, and other litigation

25   costs, injunctive and declaratory relief, and punitive damages in an amount to be determined by

26   a jury, but sufficient to prevent the same or similar conduct by the Defendant in the future.

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                                         CLASS ACTION COMPLAINT
                                              Page 12 of 14
              Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 14 of 29



 1   VII.    RELIEF REQUESTED

 2           60.       Accordingly, Plaintiff, on behalf of himself and the proposed Class, respectfully

 3   requests that this Court:

 4                     (a)    Determine that this action may be maintained as a class action and direct

 5           that reasonable notice of this action be given to the Class, and declare Plaintiff as the

 6           representative of the Class;

 7                     (b)    For an order declaring that Defendant’s conduct as described herein

 8           violates the federal VPPA, 18 U.S.C. § 2710(c)(2)(D);

 9                     (c)    For Defendant to pay $2,500.00 to Plaintiff and each Class member, as
10           provided by the VPPA, 18 U.S.C. § 2710(c)(2)(A);
11                     (d)    For punitive damages, as warranted, in an amount to be determined at
12           trial, 18 U.S.C. § 2710(c)(2)(B);
13                     (e)    For prejudgment interest on all amounts awarded;
14                     (f)    For an order of restitution and all other forms of equitable monetary
15           relief;
16                     (g)    For injunctive relief as pleaded or as the Court may deem proper; and
17                     (h)    For an order awarding Plaintiff and the Class their reasonable attorneys’
18           fees and expenses and costs of suit, 18 U.S.C. § 2710(c)(2)(C).
19   VIII. JURY DEMAND

20           61.       Plaintiff, on behalf of himself and the proposed Class, demands a trial by jury on

21   all issues so triable.

22                                                   Respectfully submitted,

23   Dated: March 17, 2022                           LYNCH CARPENTER, LLP

24                                             By: /s/ Todd D. Carpenter
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28


                                            CLASS ACTION COMPLAINT
                                                 Page 13 of 14
     Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 15 of 29



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18                               Attorneys for Plaintiff

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                         CLASS ACTION COMPLAINT
                              Page 14 of 14
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                          Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 PageFOR
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     ATTORNEY FOR (Name):    Plaintiff Justin Walker
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
 STREET ADDRESS:     400 County Center
 MAILING ADDRESS:
CITY AND ZIP CODE:   Redwood City, CA 94063
     BRANCH NAME:    Hall of Justice
CASE NAME:
 Walker v. Meta Platforms, Inc.
       CIVIL CASE COVER SHEET                                  Complex Case Designation                   CASE NUMBER:
                                                                                                                         22-CIV-01176
        Unlimited                         Limited                Counter               Joinder
        (Amount                           (Amount
                                                         Filed with first appearance by defendant JUDGE:
        demanded                          demanded is
                                                             (Cal. Rules of Court, rule 3.402)
        exceeds $25,000)                  $25,000)                                                 DEPT.:

                                           Items 1–6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                             Contract                                     Provisionally Complex Civil Litigation
           Auto (22)                                              Breach of contract/warranty (06)      (Cal. Rules of Court, rules 3.400–3.403)
           Uninsured motorist (46)                                Rule 3.740 collections (09)                  Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                      Construction defect (10)
     Damage/Wrongful Death) Tort                                                                              Mass tort (40)
                                                                  Insurance coverage (18)
             Asbestos (04)                                                                                    Securities litigation (28)
                                                                 Other contract (37)
             Product liability (24)                                                                           Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                         Insurance coverage claims arising from the
                                                                  Eminent domain/Inverse
                                                                                                              above listed provisionally complex case
          Other PI/PD/WD (23)                                     condemnation (14)
                                                                                                              types (41)
     Non-PI/PD/WD (Other) Tort                                    Wrongful eviction (33)                Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                      Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                        Miscellaneous Civil Complaint
             Defamation (13)                                      Commercial (31)
                                                                                                              RICO (27)
            Fraud (16)                                            Residential (32)
                                                                                                              Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                        Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                                                              Partnership and corporate governance (21)
          Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
     Employment                                                   Petition re: arbitration award (11)         Other petition (not specified above) (43)

             Wrongful termination (36)                            Writ of mandate (02)
             Other employment (15)                                Other judicial review (39)

2.  This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.        Large number of witnesses
   b.        Extensive motion practice raising difficult or novel e.        Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                     court
                                                                  f.        Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.          monetary b.        nonmonetary; declaratory or injunctive relief c.         punitive
4. Number of causes of action (specify): 1:Violation of the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710
5. This case          is           is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: March 17, 2022
Todd D. Carpenter                                                                             /s/ Todd D. Carpenter
                            (TYPE OR PRINT NAME)                                                             (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                              NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
 •   File this cover sheet in addition to any cover sheet required by local court rule.
 •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
 •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                             Page 1 of 2
Form Adopted for Mandatory Use                                                                                  Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Judicial Council of California                               CIVIL CASE COVER SHEET                                     Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. July 1, 2007]                                                                                                                               www.courts.ca.gov
                             Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 17 of 29                                             CM-010
                                 INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                Page 2 of 2
                                                        CIVIL CASE COVER SHEET
         Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 18 of 29



Attorney or Party without Attorney (Name/Address)                         FOR COURT USE ONLY
Todd D. Carpenter (SBN 234464)
LYNCH CARPENTER, LLP
1350 Columbia St., Suite 603, San Diego, CA 92101
Telephone: 619-762-1900                                                        3/17/2022
State Bar No.: 234464
Attorney for: Plaintiff Justin Walker
SUPERIOR COURT OF CALIFORNIA
COUNTY OF SAN MATEO
400 COUNTY CENTER
REDWOOD CITY, CA 94063
Plaintiff Justin Walker

Defendant Meta Platforms, Inc.

                                                                                Case Number
             Certificate Re Complex Case Designation                       22-CIV-01176



 This certificate must be completed and filed with your Civil Case Cover Sheet if
     you have checked a Complex Case designation or Counter-Designation

    1.      In the attached Civil Case Cover Sheet, this case is being designated or counter-designated
            as a complex case [or as not a complex case] because at least one or more of the following
            boxes has been checked:

                 Box 1 – Case type that is best described as being [or not being] provisionally
                 complex civil litigation (i.e., antitrust or trade regulation claims, construction
                 defect claims involving many parties or structures, securities claims or investment
                 losses involving many parties, environmental or toxic tort claims involving many
                 parties, claims involving mass torts, or insurance coverage claims arising out of
                 any of the foregoing claims).
                 Box 2 – Complex [or not complex] due to factors requiring exceptional judicial
                 management
               X Box 5 – Is [or is not] a class action suit.


    2.      This case is being so designated based upon the following supporting information
            [including, without limitation, a brief description of the following factors as they pertain to
            this particular case: (1) management of a large number of separately represented parties;
            (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
            that will be time-consuming to resolve; (4) management of a large number of witnesses or
            a substantial amount of documentary evidence; (5) coordination with related actions




CV-59 [Rev. 1/06]                                                             www.sanmateocourt.org
         Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 19 of 29



            pending in one or more courts in other counties, states or countries or in a federal court;
            (6) whether or not certification of a putative class action will in fact be pursued; and (7)
            substantial post-judgment judicial supervision]:
            (2)complexity of anticipated factual and/or legal issues; (3) numerous pretrial

            motions that will be time-consuming to resolve; (4) management of a large number

            of witnesses or a substantial amount of documentary evidence; (6) certification of a

            putative class action will in fact be pursued




                                     (attach additional pages if necessary)


3.      Based on the above-stated supporting information, there is a reasonable basis for the complex
        case designation or counter-designation [or noncomplex case counter-designation] being made
        in the attached Civil Case Cover Sheet.



                                                  *****


I, the undersigned counsel or self-represented party, hereby certify that the above is true and correct
and that I make this certification subject to the applicable provisions of California Code of Civil
Procedure, Section 128.7 and/or California Rules of Professional Conduct, Rule 5-200 (B) and San
Mateo County Superior Court Local Rules, Local Rule 2.30.



          3/17/2022
Dated: ___________________


 Todd D. Carpenter
________________________________                 /s/ Todd D. Carpenter
                                               ______________________________________
[Type or Print Name]                           [Signature of Party or Attorney For Party]




CV-59 [Rev. 1/06]                                                             www.sanmateocourt.org
                          Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 20 of 29
                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                                        3/17/2022
META PLATFORMS, INC.,

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
JUSTIN WALKER, on behalf of himself and all others similarly situated,
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASE 22-CIV-01176
                                                                                                             NUMBER: (Número del Caso):
(El nombre y dirección de la corte es): San Mateo Superior Court
                                        400 County Center, Redwood City, CA 94063

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Todd Carpenter of LYNCH CARPENTER, LLP, 1350 Columbia St., Ste. 603, San Diego, CA 92101, (619) 762-1900
DATE:       3/17/2022                     Neal I. Taniguchi                    Clerk, by         /s/ Anthony Berini               , Deputy
(Fecha)                                                                        (Secretario)                                       (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010).)
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.         as an individual defendant.
                                     2.         as the person sued under the fictitious name of (specify):

                                     3.         on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date)                                                                        Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 21 of 29
                            SUPERIOR COURT OF SAN MATEO COUNTY                        FOR COURT USE ONLY
                                             Civil Division
                    400 County Center, 1st Floor, Room A Redwood City, CA 94063
                                            (650) 261-5100
                                                                                              FILED
                                     www.sanmateocourt.org                              SAN MATEO COUNTY
                                                                                                 3/17/2022
PETITIONER/PLAINTIFF: JUSTIN WALKER, ON BEHALF OF HUMSELF AND ALL
OTHERS SIMILARLY SITUATED                                                               Clerk of the Superior Court
                                                                                             /s/ Anthony Berini
RESPONDENT/DEFENDANT: META PLATFORMS, INC.                                                     DEPUTY CLERK


NOTICE OF ASSIGNMENT FOR ALL PURPOSES, DESIGNATION AS COMPLEX CASE NUMBER:
     CASE, SETTING OF A CASE MANAGEMENT AND TRIAL SETTING      22-CIV-01176
               CONFERENCE, AND COMPLEX FEES DUE
This case has been filed by Plaintiff(s) as a provisionally complex case and/or a putative class action and/or a PAGA
representative action. Pursuant to Local Rule 3.300(a), this action is automatically deemed a “complex case”. This
case is assigned for all purposes to the Honorable: V. Raymond Swope in Department 23, located at Hall of Justice,
400 County Center, Redwood City, CA 94063.

ASSIGNED DEPARTMENT INFORMATION

Contact information for your assigned department is as follows:
 Judicial Officer                        Department Phone                       Department E-mail
 V. Raymond Swope                        650-261-5123                           Dept23@sanmateocourt.org

A Case Management and Trial Setting Conference is set for 8/12/2022 at 3:00 PM in Department 23 of this Court. In
anticipation of the Case Management and Trial Setting Conference, counsel for the parties should be prepared to
discuss at the hearing and file and serve written Case Management and Trial Setting Conference statements (in prose
and details, not using the standardized Judicial Council form) with a courtesy copy emailed to
complexcivil@sanmateocourt.org AND to Dept23@sanmateocourt.org at least five court days prior to the
Conference, as to the following:
    a. Status of Pleadings and Appearance of all Named Parties;
    b. Status of Discovery, including status of document production, status of depositions, status of completion of
        merits discovery, and status of expert discovery;
    c. Status of Settlement or Mediation;
    d. Listing of All Pending Motions and proposed new hearing date;
    e. Any anticipated motions and proposed briefing schedule; and
    f. Any other matters for which the parties seek Court ruling or scheduling.

Pursuant to Government Code Section 70616, the complex case fee and the first appearance fee must be paid at
the time of filing of the first paper in this complex case. Plaintiff(s) pay a single complex case fee of $1,000 on
behalf of all plaintiffs, whether filing separately or jointly. Defendant(s) pay a complex case fee of $1,000 each on
behalf of each defendant, intervenor, respondent, or adverse party, whether filing separately or jointly, at the time
that that party files its first paper in this case, not to exceed $18,000 total.

PLAINTIFF(S) ARE REQUIRED TO SERVE A COPY OF THIS NOTICE ON ALL OTHER PARTIES TO THIS ACTION OR
PROCEEDING, and promptly file proof of service.




                                                                                                           Rev. Dec. 2020
                  Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 22 of 29
                                               CLERK’S CERTIFICATE OF SERVICE
I hereby certify that I am the clerk of this Court, not a party to this cause; that I served a copy of this notice on the below date,
    by hand     by electronic service to the parties or their counsel of record at the email addresses set forth below and shown by
the records of this Court or      by placing a copy thereof in separate sealed envelopes addressed to the address shown by the
records of this Court, and by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the United
States Mail at Redwood City, California.

Date: 3/17/2022
                                                              Neal I Taniguchi, Court Executive Officer/Clerk
                                                        By: /s/ Anthony Berini
                                                             Anthony Berini, Deputy Clerk

Notice being served on:




   TODD D CARPENTER
   CARLSON LYNCH LLP
   1350 COLUMBIA STREET
   SUITE 603
   SAN DIEGO CA 92101




                                                                                                                       Rev. Dec. 2020
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 23 of 29


                                                                                       FILED
                                                                                SAN MATEO COUNTY

                                                                                      APR 0.6 2022

                                                                                  Clerk oft   Su>        rt
                                                                                By
                                                                                                    RK
                                                                                          BRlNA      BARROW

                          IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                   IN AND FOR THE COUNTY OF SAN MATEO

                                           COMPLEX CIVIL LITIGATION
 \O




      JUSTIN WALKER,        on behalf ofhimself and all other     Case No. 22-CIV-01 176
10    persons similarly situated,
                                                                  Assigned for All Purposes to
11                   Plaintiff,                                   Hon. V. Raymond Swope, Dept. 23

12             vs.                                                CASE MANAGEMENT ORDER #1
13
      META PLATFORMS, INC.
14                   Defendant,

1‘5


16
      Pursuant to the Notice of Assignment for A11 Purposes, Designation as Complex Case, Setting of Case
17

18    Management Conference, and Complex Fees Due led            on March 17, 2022, designating this matter as a

19    complex action, and single assigning to the Honorable V. Raymond Swope in Department 23 of this
20
      Court,
21
               IT IS HEREBY ORDERED: as follows:
22
               1.    Assigned Department Information: To schedule a Law and Motion Hearing, please see
23
      Local Rule 3.402 or visit the assigned Judicial Ofcer’s»   webpage at vyww.sanmateocourt.org/civiliudges.
24

25    Complex cases. are generally heard on Monday afternoons at 3:00 p.m. Contact information for your

26    assigned department is as-follows:                    Department 23 Phone:              (650) 261-5123

27                   Department E-Mail:             dept23 @sanmateocourtorg

28
                     Complex Case E-Mail:           complexcivil@sanmateocourtorg


               CASE MANAGEMENT ORDER NO.        2
                  Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 24 of 29



                 2.          Correspondence to the Department of the assigned Civil Judge, such as requests to take

      matters off calendar and requests for rescheduling, regarding complex civil actions shall be submitted

      electronically, rather than paper, by e-mail addressed to complexcivil@sanmateocourtorg AND

      dept23@sanmateocourt.org.             All e-correspondence must be sent in at least 12 point type. This email

      address is for the Department of the assigned          Civil Judge to receive correspondence regarding complex

      civil cases, and is not a venue for back-and-forth communications with the judge. Communications to

      this email address are not part of the ofcial         court les      —
                                                                               just like a paper letter, they are not “led”
 \O




      documents         —   and will be retained for at least 3O days and then be subject to deletion (destruction)

’10   thereaer.         All communications to the complexcivil@samnateocourt.org and/or
11
      dept23@sanmateocourt.org email address              MUST include in the header “subject line” the Case Number
12
      and Name of Case (e.g., CIV 654321 Smith              v.   Jones).
13
                 3.          Electronic Service. Pursuant to Code of Civil Procedure Section 1010.6(c), and
14

15
      California Rules of Court, Rule 2.253(c) and Rule 2.251(0), all parties and their counsel shall serve all

16    documents electronically, and accept service’of documents eleCtronically om                      all other parties, in

17    conformity with Code of Civil Procedure Section 1010.6 and the California Rules of Court, except when
18
      personal service is required by statute. Counsel for the parties shall meet and confer, agree upon, and
19
      keep updated, an e—service list for this complex civil action. The parties are reminded that electronic
20                                                                                                                                      -




      service of documents may extend time periods for response by two (2) court days, pursuant to Code of
21
                                                                                                                                    p




      Civil Procedure Section 1010.6(a)(4)(B).
22

23               4.          Mandatory E-Filing. Pursuant to Code of Civil, Procedure Section 1010.6(c), all parties

24    shall le        all documents electronically in this complex civil action, except those documents identied               in

25    Local Rule 2.1.8. Presently, the following documents must still be led/lodged                     in hardcopy paper:

26
                 Ex Parte Motions and Oppositions thereto
27
                 Stipulation and Proposed Order
28



            CASE MANAGEMENT ORDER NO.                 1
               Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 25 of 29



              Proposed Judgments

              Abstract of Judgment

             Appeal Documents, including Notice of Appeal

             Administrative Records

      The document (other than exhibits) must be text searchable. Please Visit www.sanmateocourt.org for

      further information on e-ling.     Please note that exhibits to any electronically led    briefs, declarations or

      other documents must be electronically “bookmarked” as required by          CRC Rule 3.1 1 10(f)(4).

              5.      Courtesy Copies for Department 23.          A courtesy copy of all pleadings, motions,
1'0
      applications, briefs, and any and all other papers filed in this case shall be (1) electronically served upon
11
      Department 23 at dept23(a)sanmateocourt.org AND complexcivil@sanmateocourt.org.                 PLEASE ADD
12
      DEPARTMENT 23 TO YOUR E-SERVICE SERVICE LIST IN THE CASE AS TO ANY AND ALL
13
      PAPERS FILED WITH THE COURT.                   A11 motions and briefs shall conform   with the California Rules
14

15
      of Court, especially Rule 3.1 1 13, and indicate on the caption page that this matter is assigned for all

16    purposes to Department 23.

17           6.       Obtain Hearing Date Pre-filing. As to any and all motions or other matters requiring a
18
      hearing, the hearing date shall be obtained directly om       and approved by Department 23 by sending an
19
      email to complexcivil@sanmateocourtgg AND dept23@sanmateocourt.org, (and not with the Civil
20
      Clerk’s Ofce)   prior to ling    of the moving papers or other initial lings.
21
             7.       Proposed Orders. Proposed Orders should be          e—led   with the motion or stipulation to
22

23    which it relates in conformity with CRC Rule 3.13 12(c): You must also email an editable version of the

24    Proposed Order in Word format (not PDF) to complexcivil@sanmateocourt.org so that the judge can

25
      modify it prior to signing,   if needed.
26                    Ex Parte Motions.
              8.                             Presently, due to the Covid 19 Pandemic, no in—person ex parte
27
      appearances are permitted until further order of the court and any ex parte appearances must be pre-
                               —                                —

28



            CASE MANAGEMENT ORDER NO.            1
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 26 of 29



      schedule with Department 23 and pre-organized by the moving party for remote appearance by all

      involved parties and the Court. Ex parte applications in this matter shall heard by Department 23, and

      the parties must meet the requirements    of CRC Rule 3.120 et seq.. Please contact Department 23 and
J}.




      opposing counsel for scheduling of the ex parte matters. With the consent of counsel for all parties,

      telephone conferences on simple interim case management matters may be scheduled with the Court for a

      mutually convenient time and date — with the scheduling and logistics of such telephone conferences to

      be the responsibility of the requesting party/parties.

               9.      E-Service of Discovery. All discovery methods (C.C.P.       § 2019.010), including but not

10    limited to notice of deposition, special interrogatories, form interrogatories, requests for production of
11
      documents, and requests for admissions, shall be served electronically upon counsel for the parties.      All
12
      discovery responses by a party in response to a discovery method by another party shall be served
13
      electronically upon counsel for the parties. Production of documents shall be provided in electronic
14
              unless the parties agree otherwise in writing. Il‘ not previously established, counsel for the parties
15    form,

16    shall'meet and confer regarding possible establishment of a joint electronic document depository for the

17    uploading and downloading of electronic document productions.
18
               10.     Informal Discovery Conferences.
19
                       a.      Pursuant to Code of Civil Procedure Section 2016.080, and the authority of a
20
      complex civil judge under CRC Rule 3.750, no party may move to compel discovery, or le            any other
21

22
      discovery motion, until the parties have had an Informal Discovery Conference. Counsel must have

23    exhausted all meet and confer obligations before the Informal Discovery Conference. To request an

24    Informal Discovery Conference, counsel should contact the Court by email at

25    dept23@sanmateocourt.org AND ComplexCivil@sanmateocourt.org, which email must be
26
      contemporaneously copied to counsel for all parties to the action and any self-represented parties. In the
27
      email please include the following information: issue subj ect to the IDC; has this been conferenced
28



              CASE MANAGEMENT ORDER NO.         1
                Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 27 of 29



      before and    if so when; list ofparties to be involved; and possi131e motions to arise if IDCifails. Pursuant
      to Code   of Civil Procedure Section 2016.080(c)(2), the time for bringing any motion to compel is tolled

      starting on the date a party makes the email request for an Informal Discovery Conference to the Court.
A




      All requests for Informal Discovery Conference must be made well prior to the expiration of the statutory

      time to bring a motion to compel or other discovery motion.

                       b.      Within ve      (5) calendar days of the initial email request to the Court for an

      Informal Discovery Request, the disputing parties shall, jointly or separately, email correspondence to

      the Court at ComplexCivil@sanmateocourt.org and dept23 @samnateocourt.org, and contemporaneously

10    to all parties, an electronic letter   of no more than ve   (5) pages, without attachments, summarizing the
11
      discovery dispute(s).
12
                       c.      The parties involved in the discovery dispute shall not le      any “meet and confer”
13
      declarations pursuant to Code of Civil Procedure Sections 2016.040 or 2016.080(b) prior to the Informal
14

15    Discovery Conference. The dispute will be addressed by the e-correspondence method/procedure set

16    forth above.

17                     d.      The procedures outlined above apply to parties. With regard-to discovery disputes
18
      with non-parties, the non-parties may elect to participate in this procedure, but are not required to do so.
19
              11.      No Discovery Motion Separate Statement. As to any discovery motions, the parties are
20
      relieved of the statutory obligation under CRC Rule 3.1345, and thus need not (should not) le          a separate
21
      statement — instead the subject discovery requests (or deposition questions) and written responses (or
22‘
23    deposition answers or obj ections) must be attached to the supporting declaration on the discovery motion.

24            12.      Limit to 35; Given the nature of this complex civil action, the Court Views document
25
      production and depositions as the most effective means of discovery for adjudication. Accordingly, no
26
      party may propound more than 35 special interrogatories total and no party may propound more than 35
27
      requests for admissions (other than as to the authenticity of documents) total, without prior court order
28



            CASE MANAGEMENT ORDER NO.              1
                  Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 28 of 29



       after demonstration of need and a showing that other means of discovery would be less efcient.

                 13.         N0 Appendix of Non-California Authorities. Pursuant to CRC Rule 3.1 1 13(i), the

       Complex Civil Department, Dept. 23, does not require any appendix of non-California authorities, unless

       specically      stated by the Court as to a particular motion.

                 14.         Case Management Conference. The next Complex Case Management Conference is set

       for Friday, August, 12th at 3:00 p.m. in Department 23 of this Court, located at Courtroom 8A, 400

       County Center, Redwood City, California. Counsel for all parties shall meet and confer on all matters set

       forth in California Rules of Court Rule 3.750 and Rule 3.724(8).         All appearances shall he remote only,
10     via Zoom. Email Department 23 three days prior to conference for Zoom credentials.
11
                 15.         In anticipation of the Case Management Conference, counsel for the parties should be
12
       prepared to discuss at the hearing and le         written case management conference statements (in prose and
13
       details, not using the standardized Judicial Council form) with a courtesy copy delivered directly to
14

       Department 23 on or before August 4th, 2022, as to the following:
15:
                         i



16..
            '
                 a.          Status of the Pleadings and service of process upon all named parties;

17               b.          Status of Discovery, including the initial production of documents by all parties, and

18
                                    depositions of the Plaintiff and of Defendant’s PMK(s);
19
                 c.          Status of Settlement or Mediation;
20
                 d.          Conclusions reached after meet and confer on all matters set forth in   CRC Rule 3.750 and
21
                                    Rule 3.724(8);
22

23               e.          Proposed brieng   schedule and hearing date on Plaintiff s Motion for Class Certication,

24                                  and what specific discovery is still needed to prepare the motion or opposition;

25               f.          Any anticipated motions and'proposed brieng     schedule;
26
                 g.          Setting of next CMC date; and
27
                 h.          Any other matters for which the parties seek Court ruling or scheduling.
28



                CASE MANAGEMENT ORDER NO.            1
      Case 3:22-cv-02442-SK Document 1-1 Filed 04/20/22 Page 29 of 29



      16.   Discovery is not stayed.



IT IS SO ORDERED.



DATED:
         APR 6 0202/2
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                                 ‘
                                           %
                                           JUDGE
                                                  XYMOND SWOPE
                                                 0F
                                                              :   '
                                                    THE SUPERIOR COURT




    CASE MANAGEMENT ORDER NO.          1
